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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
                                                   Case No. 2:23-cv-10017
                      Plaintiff,
                                                   Hon.
                      v.
                                                   JURY TRIAL DEMANDED
NEIL S. CHANDRAN,
GARRY J. DAVIDSON,
MICHAEL T. GLASPIE,
LINDA C. KNOTT,
AMY S. MOSSEL,
AEO PUBLISHING INC.,
BANNER CO-OP, INC., and
BANNERSGO, LLC,

               Defendants.
_____________________________________/

                                   COMPLAINT

      Plaintiff, the United States Securities and Exchange Commission (“SEC”),

alleges as follows:

                               SUMMARY OF ACTION

      1.     This case concerns a brazen and far-reaching unregistered offering

fraud conducted between at least 2018 and 2022 by Defendants Neil Chandran,

Garry Davidson, Michael Glaspie, Linda Knott, Amy Mossel, Banner Co-Op, Inc.
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(“Banner Co-Op”), BannersGo, LLC (“BannersGo”), and AEO Publishing Inc.

(“AEO Publishing”).

      2.     Chandran, a recidivist securities law violator and convicted felon,

claimed to own a unique blockchain technology that was on the verge of being sold

for trillions of dollars to a group of reputable billionaire buyers (“CoinDeal”).

Chandran further claimed his business required interim financial support until the

sale transaction closed. Together with and through other named Defendants,

Chandran targeted mostly unsophisticated investors with false and misleading

promises and representations that investments in CoinDeal would soon yield

extremely high returns from the imminent sale of his business. Ultimately, there

was no sale, and no distribution of proceeds, because CoinDeal was a sham.

      3.     Given his criminal record, Chandran incentivized others such as

Davidson (an investor in a prior Chandran scheme) and Glaspie (recruited by

Davidson) to help raise funds for CoinDeal by soliciting public investment.

      4.     Glaspie, an online promoter, raised large sums for CoinDeal from tens

of thousands of investors in multiple states and countries. As part of his

promotional campaign, Glaspie knowingly or recklessly disseminated false

information about CoinDeal that he received from Chandran via Davidson,

including information concerning the supposed value and timeline of the sale

transaction, as well as the purported involvement of prominent business people,


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financial institutions and governmental departments or agencies. Glaspie regularly

communicated such false information to investors through near-daily written

updates and weekly teleconferences, in which Davidson occasionally participated.

      5.     Glaspie made additional misrepresentations and engaged in other

fraudulent conduct, including by: creating and publicizing astronomical payout

scales that ranged from multi-million dollar returns for investments of $1,000 or

less, to returns in excess of $50 billion for investments of $100,000; offering

referral bonuses to entice investors to recruit others to participate in CoinDeal; and

personally guaranteeing to refund investors with 7% interest should CoinDeal not

come to fruition.

      6.     Knott, who invested in CoinDeal through Glaspie and engaged in her

own promotional activity, similarly fabricated payout scales with conspicuous rates

of return and knowingly or recklessly disseminated false information about

CoinDeal when soliciting prospective investors.

      7.     Chandran, Davidson, Glaspie (with substantial assistance from his

wife, Mossel, and her business entity, AEO Publishing) and Knott raised over $45

million through the fraudulent CoinDeal offering. Investor funds typically flowed

into financial accounts held by Glaspie’s entities, Banner Co-Op and BannersGo,

were then transferred to accounts controlled by Davidson, and ultimately routed to

accounts controlled by Chandran. Knott pooled investor funds she raised, which


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totaled at least $749,000, before periodically transferring amounts to Glaspie.

Neither Knott, Glaspie nor Davidson transferred all CoinDeal investor funds

upstream – rather, each diverted investor funds for personal use along the way.

      8.     Collectively, Chandran, Davidson, Glaspie, and Knott

misappropriated tens of millions of dollars of investor funds for personal use and

diverted funds to individuals and entities unrelated to CoinDeal, including Mossel

and AEO Publishing.

      9.     As a result of their conduct, Chandran, Davidson, Glaspie, Knott,

Banner Co-Op, and BannersGo intentionally, knowingly, or recklessly committed

securities fraud and offered and sold unregistered securities. Mossel and AEO

Publishing aided and abetted Glaspie’s violations.

      10.    Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo

violated Sections 5(a), 5(c), and 17(a) of the Securities Act of 1933 (the “Securities

Act”) [15 U.S.C. §§ 77e(a), 77e(c), and 77q(a)] and Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. § 240.10b-5].

      11.    Pursuant to Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)]

and Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)], Davidson, Glaspie,

Knott, Banner Co-Op, and BannersGo aided and abetted Chandran’s violations of

Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.


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      12.     Pursuant to Section 15(b) of the Securities Act and Section 20(e) of

the Exchange Act, AEO Publishing and Mossel aided and abetted Glaspie’s

violations of Sections 5(a), 5(c), and 17(a) of the Securities Act and Section 10(b)

of the Exchange Act and Rule 10b-5 thereunder.

      13.     The SEC brings this lawsuit to prevent further harm to investors and

to seek disgorgement, civil penalties, officer and director bars, permanent

injunctions, and conduct-based injunctions stemming from the Defendants’

wrongdoing.

      14.     Unless the Defendants are permanently restrained and enjoined, they

will continue to engage in the acts, practices, and courses of business set forth in

this Complaint and in acts, practices, and courses of business of similar type and

object.

                          JURISDICTION AND VENUE

      15.     The Court has jurisdiction over this action pursuant to Sections 20(b)

and 22(a) of the Securities Act [15 U.S.C. §§ 77t(b) and 77v(a)], and Sections

21(d) and 27(a) of the Exchange Act [15 U.S.C. §§78u(d) and 78aa(a)].

      16.     Venue is proper in this judicial district pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15

U.S.C. § 78aa(a)], because many of the acts, transactions and courses of business




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constituting the violations alleged in this Complaint occurred within the

jurisdiction of this district.

       17.    In connection with the conduct alleged in this Complaint, the

Defendants, directly and indirectly, have made use of the mails and/or means or

instrumentalities of transportation or communication in interstate commerce.

                                  DEFENDANTS

       18.    Neil S. Chandran, age 51, is currently imprisoned in Nebraska while

awaiting trial. Chandran resided in California and Nevada during the relevant time

period. Chandran managed at least four entities under the umbrella name Virse:

ViMarket, Inc., ViDelivery, Inc., Studio Vi, Inc., and Free Vi Lab (collectively, the

“Chandran Entities”). In 2006, California’s Department of Corporations ordered

Chandran to desist and refrain from offering or selling securities in California. In

2015, the Alberta Securities Commission sanctioned Chandran and his company

for engaging in unregistered trading and illegal securities offerings and fined him

$460,000 CAD. In 2016, the Ontario Securities Commission entered a reciprocal

order against Chandran, banning him from trading in securities and soliciting

investors to trade in securities. In 2018, Chandran pled guilty to grand larceny and

securities fraud in the state of New York and was ordered to pay $2,868,000. In

June 2022, the Department of Justice (“DOJ”) indicted Chandran for wire fraud

and money laundering in connection with the CoinDeal scheme and obtained a


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court-ordered freeze of his assets. Chandran does not hold any securities licenses

and has never registered with the SEC.

      19.    Garry J. Davidson, age 68, resides in Henderson, Nevada. Davidson

previously invested in another of Chandran’s purported business ventures and

facilitated investments and payments in connection with CoinDeal and the

Chandran Entities. In June 2022, the Alabama Securities Commission (“ASC”)

ordered Davidson to cease and desist from offering or selling securities in Alabama

due to his involvement with CoinDeal. Davidson does not hold any securities

licenses and has never registered with the SEC.

      20.    Michael T. Glaspie, age 71, resides in Palm City, Florida. Glaspie

controls BannersGo, LLC and Banner Co-Op, Inc. (collectively, the “Glaspie

Entities”). In January 2020, Michigan’s Department of Licensing and Regulatory

Affairs (“LARA”) ordered Glaspie to cease and desist from offering or selling

unregistered securities in Michigan due to his involvement with CoinDeal. In June

2020, Glaspie agreed to cease and desist and pay a $15,000 fine; however, in

October 2021, the Michigan Department of Attorney General obtained an

injunction against Glaspie due to his ongoing violations of the June 2020 cease-

and-desist order. More recently, in June 2022, the ASC ordered Glaspie to cease

and desist from offering or selling securities in Alabama due to his involvement




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with CoinDeal. Glaspie does not hold any securities licenses and has never

registered with the SEC.

       21.   Linda C. Knott, age 57, resides in Oklahoma City, Oklahoma. Knott

acted as a downstream promoter for CoinDeal and raised investor funds through

her d/b/a entity, Together We Profit. In April 2022, LARA ordered Knott to cease

and desist from offering or selling unregistered securities in Michigan due to her

involvement with CoinDeal. In August 2022, Knott agreed to cease and desist and

pay a $10,000 fine. Knott does not hold any securities licenses and has never

registered with the SEC.

       22.   Amy Mossel, age 55, resides in Palm City, Florida. Mossel is married

to Glaspie. Mossel controls AEO Publishing Inc. Mossel assisted Glaspie in

disseminating information to the public regarding CoinDeal and collecting investor

funds. Mossel does not hold any securities licenses and has never registered with

the SEC.

       23.   AEO Publishing is a Delaware corporation formed in March 2000

with its principal place of business in Palm City, Florida. Mossel is the sole officer

and director of AEO Publishing, an online publishing company. Mossel used AEO

Publishing to collect investor funds. AEO Publishing has never registered with the

SEC.




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      24.    Banner Co-Op is a Delaware corporation formed in August 1998

with its principal place of business in Highland, Michigan. Glaspie is the president

of Banner Co-Op, an internet services company. In January 2020, LARA ordered

Banner Co-Op to cease and desist from offering or selling unregistered securities

in Michigan due to its involvement with CoinDeal. In June 2020, Banner Co-Op

agreed to cease and desist and pay a $15,000 fine; however, in October 2021, the

Michigan Department of Attorney General obtained an injunction against Banner

Co-Op due to its ongoing violations of the June 2020 cease and desist order. More

recently, in June 2022, the ASC ordered Banner Co-Op to cease and desist from

offering or selling securities in Alabama due to its involvement with CoinDeal.

Banner Co-Op has never registered with the SEC.

      25.    BannersGo is a Michigan limited liability company formed in

December 2019 with its principal place of business in Highland, Michigan.

Glaspie organized BannersGo as an internet services company. BannersGo has

never registered with the SEC.

                                       FACTS

                   Chandran Created the “CoinDeal” Scheme

      26.    From at least 2018, Chandran repeatedly touted an investment

opportunity that supposedly revolved around valuable blockchain technology he

was far along in the process of selling to a group of wealthy buyers at a trillion-


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dollar valuation. Chandran sought short-term funding for business operating

expenses during the completion of the purported sale process and promised

investors substantial returns once the sale closed. This investment opportunity later

became widely known to investors as “CoinDeal.”

      27.    In reality, CoinDeal was merely the most recent iteration of

Chandran’s prior fraudulent schemes. No such buyer group existed, there was no

impending sale, and Chandran was incapable of producing the astronomical returns

he promised.

      28.    Given the public record of his legal troubles, Chandran sought to

utilize others to solicit investors on his behalf. Chandran turned to Davidson, an

investor in one of his prior schemes who remained in contact with Chandran in

hopes of recouping his prior investment. Davidson agreed to find others to invest,

financially motivated by Chandran’s offer to pay him increased returns based on

the amount he could raise.

   Davidson Recruited Glaspie and Served as a Go-Between for Chandran
      29.    Davidson sought avenues for fundraising and identified Glaspie

through an internet search. In or around mid-2018, Davidson contacted Glaspie,

based on Glaspie’s substantial online presence and reputed success with internet

multi-level marketing programs.




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       30.   Davidson presented the CoinDeal opportunity to Glaspie. Davidson

described it as debt financing for a company involved with cryptocurrency and

artificial intelligence that was pending sale. Davidson made Glaspie aware of

Chandran’s involvement and offered Glaspie substantial returns.

       31.   Davidson and Glaspie had never met or spoken prior to this initial

contact by Davidson. Nonetheless, Glaspie decided to invest and solicit others to

invest in CoinDeal without conducting any independent research or other due

diligence on Chandran, Davidson, or CoinDeal.

       32.   Specifically, Davidson and Glaspie agreed to solicit investments in

CoinDeal from Glaspie’s expansive network of internet marketing contacts and to

transfer monies raised from investors to Chandran and/or the Chandran Entities.

       33.   From 2018 to 2022, Davidson relayed information that he received

from Chandran about CoinDeal to Glaspie to facilitate Glaspie’s solicitation

efforts.

       34.   Chandran regularly used encrypted email, text messages, and phone

calls to share with Davidson false and misleading information concerning

CoinDeal. Chandran typically provided status updates on the supposed deal,

including but not limited to: the involvement of foreign central banks and the

United States Department of Homeland Security; the latest board meetings of the

consortium of wealthy buyers; the role of certain political figures; and the causes


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of “temporary” delays to the sale closing. These updates were designed to lull

investors and induce them to continue investing in CoinDeal.

      35.   To distribute information received from Chandran via encrypted

message, Davidson typically would copy and paste the latest supposed update

regarding CoinDeal to an unencrypted email message to Glaspie.

      36.   Glaspie would then include the information received from Davidson

in written and/or oral communications with investors and potential investors, such

as “CoinDeal Updates” that were made available online and via email, and

discussed during teleconferences.

      37.   For example, Chandran (cryptovirutal@hushmail.com) sent an

encrypted email to Davidson (kgd526@gmail.com) on February 28, 2019, with the

subject line: “Elite Sponsors : Statement Registration Requires Sign Off in SF ;

Traveling to Obtain for Close of Business PST.”




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      38.    On the same day, February 28, 2019, Davidson sent Glaspie an

unencrypted email regarding an “update” with the information he had copied from

Chandran’s email. As shown below, the email included information regarding the

same subject of Chandran’s previous email, including travel to San Francisco for

“statement registration”:




      39.    The very next day, in a March 1, 2019 “CoinDeal Update”

communication, Glaspie shared with investors the same information he had

received from Davidson the day before concerning “statement registration” in San

Francisco:




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      40.    The above-described pattern of communication between Chandran

and Davidson, followed by communication between Davidson and Glaspie,

followed by a CoinDeal investor update from Glapsie to investors, occurred

regularly in the course of the CoinDeal offering.

  Chandran, Davidson, and Glaspie Offered CoinDeal to Investors Through
                           Glaspie’s Network
      41.    In or around January 2019, Glaspie began promoting the CoinDeal

opportunity during weekly teleconferences that included over 100,000 invitees

from his network of contacts. Glaspie explained that an unnamed Canadian

resident had a very valuable (but anonymous) artificial intelligence and

cryptocurrency company that was preparing for an imminent sale to a group of

billionaire buyers. Glaspie further explained that the Canadian resident was unable

to obtain conventional financing due to prior legal issues. Glaspie did not reveal

that this unnamed individual was Chandran, and he also failed to disclose that this

individual had a criminal history in the United States.

      42.    Davidson participated in certain of these weekly teleconferences

alongside Glaspie. Glaspie explained to investors that Davidson brought the

opportunity to Glaspie and described him as a representative of CoinDeal. For

example, during teleconferences held on March 7, 2020, and August 5, 2020,

Glaspie referred to Davidson as a CoinDeal trustee.



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      43.    In or around January 2019, Glaspie also began making online posts

and disseminating emails to solicit CoinDeal investments. The online posts and

emails included materially false and misleading updates on CoinDeal based on

information Glaspie received from Chandran via Davidson and a payout scale that

promised investors outsized returns based on a given investment amount.

      44.    To attract prospective investors, Glaspie created his own payout scale

using Chandran’s astronomical valuations of CoinDeal. Glaspie utilized a tiered

payout scale by offering a higher return for larger investment amounts. As set

forth below, Glaspie offered increasingly extravagant returns that grew from 10

times the investment amount in his updates from early 2019 to 500,000 times the

investment amount in updates from late 2021.

 To Lure Investors, CoinDeal’s Premise Was Little Ventured, Much Gained
      45.    In promoting CoinDeal, Glaspie anticipated that large numbers of

investors would jump at the opportunity to obtain a life-changing financial reward,

particularly if it did not require much outlay of capital. Thus, despite having no

legitimate basis for doing so, Glaspie published online dozens of different high

rates of return that continued to grow over time to encourage investment in

CoinDeal, even when the supposedly imminent transaction had yet to occur.

Based on these promised payouts, investors were misled to expect millions and

potentially billions in return for a comparatively small, short-term investment.


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      46.   For example, on June 12, 2019, Glaspie published online a promise to

pay returns of 20-to-1 (2000%) on investments in CoinDeal:




      47.   On August 28, 2020, Glaspie published online CoinDeal payout terms

ranging from $750,000 for a mere $250 investment to as high as $1 billion for a

$100,000 investment:




      48.   On September 9, 2020 (less than two weeks later), Glaspie published

online increased CoinDeal payout terms and offered even higher payouts for higher

investment amounts, including over $2 billion for a $100,000 investment:




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      49.   The following month, on October 19, 2020, Glaspie again published

online increased CoinDeal payout terms, ranging from at least $1.5 million for a

mere $250 investment to over $4 billion for a $100,000 investment:




      50.   On June 25, 2021, Glaspie published online CoinDeal payout terms

that were far more extravagant, ranging from at least $12.5 million for a $500

investment to as high as $56.25 billion, plus a high-end luxury automobile, for a

$100,000 investment:




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      51.    By promising ever-escalating high rates of return, based on false

valuation information from Chandran (via Davidson), Glaspie was able to create

and maintain investor interest in CoinDeal, even when the supposed deal failed to

close on the short-term time horizons advertised to investors.

 Chandran, Davidson, and Glaspie Repeatedly Fabricated Excuses for Why
                   CoinDeal’s Closing Was Delayed
      52.    During the CoinDeal offering, Chandran, Davidson, and Glaspie

repeatedly represented that CoinDeal was on the cusp of closing, purposefully

misleading current and prospective investors to believe they could receive a large

payout in a matter of days or weeks, not months or years.


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      53.    For example, on March 21, 2019, Glaspie stated in his online update

that he expected CoinDeal to close later that day.

      54.    On May 8, 2019, Glaspie stated in his online update that he expected

CoinDeal to close the following day.

      55.    On October 2, 2019, Glaspie stated in his online update that CoinDeal

was expected to close that night.

      56.    On April 11, 2020, Glaspie stated in his online update that CoinDeal

would be closing within three days.

      57.    On January 11, 2021, Glaspie stated in his online update that

CoinDeal would be closing by January 13, 2021.

      58.    Without disclosing his full name, Chandran participated in at least one

teleconference hosted by Glaspie on October 24, 2020, and told investors that

CoinDeal’s closing was only a week or two away.

      59.    CoinDeal, however, never existed and thus, by design, the deal never

closed. Glaspie, based on information from Chandran (via Davidson), provided a

continuous string of excuses for why closing did not occur. For example, on

February 22, 2019, Glaspie falsely claimed in an online post that CoinDeal’s

closing had been delayed due to a vendor company declaring bankruptcy:




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      60.   On April 16, 2019, Glaspie falsely claimed in an online post that

closing of CoinDeal had been delayed because a South Korean bank involved in

the deal required in-person signatures in Hawaii:




      61.   On May 7, 2019, Glaspie falsely claimed in an online post that

CoinDeal’s closing was delayed because an engineer familiar with the company

systems was sick:




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      62.   On July 24, 2019, Glaspie falsely claimed in an online post that

closing was somehow delayed due to an issue involving the number of smart

phones being supplied by a vendor:




      63.   During the CoinDeal offering, Glaspie provided other, similarly false

and misleading explanations, based on information from Chandran (via Davidson),


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for why the closing of CoinDeal was delayed but remained imminent, in order to

lull investors and induce them to continue investing in CoinDeal.

 Chandran, Davidson, and Glaspie Provided Investors With Additional False
                    Information Regarding CoinDeal
      64.    Throughout the relevant time period, prospective investors were

constantly flooded with opportunities to invest in CoinDeal. Glaspie continued

hosting weekly teleconferences and disseminating written updates on a near-daily

basis (and occasionally multiple times in one day) to promote CoinDeal and solicit

funds until 2022.

      65.    In addition to false statements about the expected profitability of the

CoinDeal transaction, related false promises of outsized investment returns, and

myriad false excuses for why CoinDeal had not yet closed, Glaspie and Davidson

directly made various other material misrepresentations to investors and

prospective investors.

      66.    For example, based on information from Chandran, Davidson falsely

stated, during a teleconference on March 6, 2021, that Billionaire 1 and Billionaire

2 were each under consideration as the potential CEO for the CoinDeal business

enterprise. Billionaire 1 is the founder and executive chairman of a large online

retailing company. Billionaire 2 is the CEO of an electric car company. During

the same teleconference, Davidson falsely stated that CoinDeal had a market

capitalization of $50 trillion.

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      67.    Based on information from Chandran (via Davidson), Glaspie

similarly falsely stated in his June 7, 2021 online update that Billionaire 1 was a

member of the billionaire buyers’ group that planned to purchase one or more

Chandran Entities:




      68.    Based on information from Chandran (via Davidson), Glaspie falsely

stated during a February 20, 2021 teleconference that Billionaire 2 was also a

member of the buyers’ group that planned to purchase one or more Chandran

Entities.

      69.    Glaspie also falsely claimed that he was under a strict non-disclosure

agreement, which prevented him from disclosing the name of the seller, the names

of the buyers, and the name of the company. In reality, this was merely another

ruse to avoid scrutiny, as no such non-disclosure agreement existed.

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      70.    Glaspie went so far as to falsely deny Chandran’s involvement. When

investors asked Glaspie whether Chandran was the seller behind CoinDeal, Glaspie

denied Chandran’s role in the scheme.

      71.    For example, on or about August 19, 2021, a prospective CoinDeal

investor shared a link containing information about Chandran’s 2018 criminal

charges and asked Glaspie to “confirm that Neil Chandran is NOT the seller of this

transaction.” In response, Glaspie denied that Chandran was involved, admonished

the individual for “spreading rumors,” and further stated: “Please make this the last

email on this topic [as] I just don[’]t have time for this disrupting email.”

      72.    By way of further example, on or about September 3, 2021, Glaspie

again denied Chandran’s involvement in CoinDeal to a prospective investor. On

this occasion, the concerned individual told Glaspie: “I have been doing some

digging around the internet. Some people say that ‘Neil’ the owner, is actually

convicted fraudster Neil Chandran. Please tell me that’s not true.” The individual

further described finding “red flags” when searching Chandran’s name on the

internet. In response, Glaspie stated: “[W]here these rumors start is a mystery to

me. The owner is NOT the man u think he is.”

      73.    Glaspie also lured investors through false guarantees to investors that

he would repay all amounts invested in CoinDeal with 7% interest within three




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years if the CoinDeal sale transaction did not occur. In reality, Glaspie did not

have the financial resources to make any such guarantee.

      74.    For instance, on November 16, 2020, Glaspie published online in a

written update his guarantee to pay 7% interest on all amounts invested in

CoinDeal.




      75.    To entice further investment, Glaspie offered referral bonuses for

investors who raised additional funds.

      76.    For example, Glaspie published online a 25% referral bonus offer in

his October 19, 2020 update:




      77.    Similarly, on November 16, 2020, Glaspie published online in a

written update his offer of a 25% referral bonus for bringing new investors to

CoinDeal:




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 CoinDeal Investor Funds Flowed Through the Glaspie Entities to Davidson,
                   Chandran, and the Chandran Entities

      78.    At Glaspie’s direction, investors participated in the CoinDeal offering

through the Glaspie Entities.

      79.    Glaspie instructed investors to send payments for CoinDeal

investments to bank accounts in the name of his entities, Banner Co-Op and

BannersGo, which he promised to investors he would pass along to Davidson for

CoinDeal.

      80.    The Glaspie Entities received CoinDeal investor funds at certain bank

institutions, some of which were located in Michigan. Investors’ funds were

commingled and transferred to other accounts controlled by Glaspie and his wife,

Mossel, including accounts in the name of Mossel’s company, AEO Publishing.

      81.    At Davidson’s instruction, Glaspie and/or Mossel caused the transfer

of investor funds, held in accounts in the name of the Glaspie Entities and AEO

Publishing, to specified bank accounts controlled by Davidson.

      82.    At Chandran’s direction, Davidson transferred the funds upstream to

Chandran, the Chandran Entities, and Chandran’s associates.

      83.    Certain funds were also transferred directly from the Glaspie Entities

to Chandran and the Chandran Entities following the closure of certain of

Davidson’s bank accounts.



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      84.    From 2019 to 2022, Glaspie, through the Glaspie Entities, raised over

$45 million, as well additional amounts via crypto assets, from thousands of

CoinDeal investors from multiple states and countries.

                  Defendants Misappropriated Investor Funds

      85.    Defendants failed to disclose to investors that funds invested in

CoinDeal would be used for purposes unrelated to CoinDeal.

      86.    Chandran received at least $37 million in investor funds for CoinDeal.

Chandran and the Chandran Entities misappropriated investors’ funds to purchase,

among other items, a fleet of luxury vehicles, various real estate properties in

California and Nevada, and a boat.

      87.    The Glaspie Entities were controlled by Glaspie, and, unbeknownst to

investors, he determined how investor funds would be used upon receipt, including

for his own personal use. Glaspie, through the Glaspie Entities, misappropriated

approximately $5.9 million or more by transferring investor funds to other

accounts that he and Mossel controlled that were unrelated to CoinDeal and by

directly paying his and Mossel’s personal expenses. Glaspie used investors’ funds

to contribute over $100,000 to an insurance policy for his son and to contribute

$800,000 to an annuity policy in Mossel’s name. Glaspie also used investor funds

to cover operating expenses for the Glaspie Entities and transferred millions to his

associates to pay salaries and for other business ventures.


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      88.    Davidson misappropriated at least $3 million of investors’ funds.

Among other misuse of investor funds, Davidson purchased a $150,000 mobile

home and used investor funds for personal living expenses.

   Mossel and AEO Publishing Substantially Assisted the CoinDeal Scheme

      89.    Mossel was aware of Glaspie’s efforts to raise funds for CoinDeal and

substantially assisted him in furthering the scheme.

      90.    Glaspie typically dictated his investor updates regarding CoinDeal to

Mossel who would then post the updates online and circulate them via email.

Mossel knew, recklessly disregarded, should have known, or consciously avoided

knowing that the information and promises contained in Glaspie’s online updates

were false and misleading.

      91.    Mossel served as a bookkeeper for the Glaspie Entities. Mossel

issued invoices to CoinDeal investors on behalf of the Glaspie Entities and

collected and commingled investor funds in bank accounts held in the name of

Banner Co-Op, BannersGo, and her own company, AEO Publishing.

      92.    In her role as bookkeeper, Mossel regularly communicated with

investors regarding the amount of their investments and potential payouts.

      93.    Mossel also transferred investor funds to Davidson and the Chandran

Entities.




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         94.   Glaspie and Mossel diverted at least $1 million of investors’ funds to

Mossel and AEO Publishing.

   Knott Also Engaged in the CoinDeal Offering Fraud Through Her Own
                          Promotional Activities
         95.   Glaspie’s widespread marketing of CoinDeal and his offer of referral

bonuses attracted promoters who established their own investor groups. These

promoters would pool investor funds to reach higher levels on Glaspie’s tiered

payout scale and obtain larger referral bonuses. One such promoter was Linda

Knott.

         96.   In February 2021, Knott learned of CoinDeal through one of Glaspie’s

teleconferences and decided to invest $1,000. Knott did not know of Glaspie

before listening to the teleconference, and Knott did not conduct any independent

research on Glaspie or CoinDeal before investing.

         97.   After learning of the aforementioned payout scale and referral

bonuses promised by Glaspie, Knott started collecting funds for CoinDeal through

an investor group called Together We Profit.

         98.   Together We Profit was a loose arrangement of individuals interested

in participating in CoinDeal. Knott instructed members to send funds to accounts

controlled by Knott, which she represented would be transferred to Glaspie for

investing in CoinDeal. During the relevant time period, Together We Profit grew

to approximately 10,000 members from multiple states and countries.

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      99.    Similar to Glaspie, Knott disseminated email updates and hosted

teleconferences concerning CoinDeal.

      100. In written updates and during teleconferences with current and

potential investors, Knott repeated misrepresentations made in Glaspie’s written

CoinDeal updates and teleconferences, including misrepresentations regarding the

involvement of prominent billionaire buyers.

      101. Knott also repeated Glaspie’s baseless guarantee that CoinDeal

investors would receive a full refund with 7% interest if the sale did not occur.

      102. Knott facilitated investment by lowering the barrier to entry for

CoinDeal by allowing prospective investors to participate for as little as $27, which

was lower than the amounts permitted by Glaspie.

      103. Knott created and disseminated her own payout scale to attract

investors, including in emails and online posts in October and November 2021.

Knott’s advertised payout scale grew over time from payouts of $500,000 for each

$27 investment, to payouts of $14 million for each $27 investment.

      104. During 2021, Knott raised at least $749,000 in fiat currency and

additional amounts in crypto currency from thousands of investors from multiple

states, including Michigan, and multiple countries.




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      105. While Knott assured investors she would transmit all of their funds to

CoinDeal, that was false. She enriched herself by misappropriating approximately

$79,000 or more for personal use and purposes unrelated to CoinDeal.

  Defendants Continued the Fraudulent CoinDeal Offering Even After State
              Authorities Ordered Them to Cease and Desist
      106. In January 2020, LARA ordered Glaspie and Banner Co-Op to cease

and desist from offering or selling unregistered securities in Michigan in

connection with CoinDeal. In June 2020, Glaspie settled by agreeing to cease and

desist and paying a $15,000 fine.

      107. Nevertheless, Glaspie continued offering and selling securities to

investors in Michigan for CoinDeal.

      108. In October 2021, the Michigan Department of Attorney General

obtained an injunction against Glaspie and Banner Co-Op for their failure to abide

by the June 2020 consent order. The judgment prohibited Glaspie and Banner Co-

Op from continuing to solicit funds from and offering investment opportunities to

Michigan residents.

      109. On June 1, 2022, the Alabama Securities Commission ordered

Glaspie, Davidson, and Banner Co-Op to cease and desist from offering or selling

securities in Alabama.

      110. Despite these actions by state regulatory authorities, Glaspie and

Davidson continued to accept investor funds.

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      111. In 2021, Knott became aware of LARA’s cease-and-desist order and

received warnings from a Glaspie associate about the legal ramifications of

accepting funds from Michigan investors. Nonetheless, Knott created a

workaround.

      112. In September 2021, Knott addressed prospective Michigan investors

and informed them that she, in lieu of Glaspie, would accept their funds for a

higher fee ($30) through a separate company she had created:




      113. In April 2022, LARA ordered Knott d/b/a Together We Profit to cease

and desist from offering or selling unregistered securities in Michigan. In August

2022, Knott stipulated to a cease-and-desist order and a $10,000 fine.

                         The CoinDeal Scheme Collapses

      114. In June 2022, the CoinDeal scheme largely collapsed when the DOJ

indicted Chandran for wire fraud and money laundering violations and froze his

assets. USA v. Chandran, Case No. 22-cr-03077 (D. Neb. 2022). The indictment

described a scheme to defraud carried out by Chandran, in which he caused others

to solicit funds from investors based on the false and misleading portrayal that their




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investments would soon yield extremely high returns upon the purchase of one or

more of his entities by a wealthy buyer group.

      115. Even after Chandran’s arrest, Glaspie continued to lull investors with

confounding rationalizations about the purported legitimacy and ongoing viability

of CoinDeal. For example, on June 30, 2022, Glaspie published online the

following update:




      116. On July 15, 2022, Glaspie published online another false and

misleading update:




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      117. The vast majority of CoinDeal investors have not received the return

of their principal investment amounts, and no investors have received any

promised profits on their investments.

      118. Chandran, Glaspie, and Mossel declined to testify during the SEC’s

investigation, invoking their Fifth Amendment right against self-incrimination.

                           Unregistered Securities Offerings

      119. As set forth above, the Defendants offered and sold CoinDeal

investments and raised over $45 million from investors in multiple states and

countries.

      120. The Defendants recruited potential investors through teleconferences,

online posts, and email.

      121. The Defendants made no efforts to assess potential investors’

sophistication or accreditation status, and unaccredited investors participated in the

CoinDeal offering. Many investors had no preexisting relationship with the

Defendants.

      122. The Defendants represented to CoinDeal investors that they would

pool the money raised from investors and use it to cover operating or per diem

expenses for CoinDeal.

      123. CoinDeal investors did not exercise any control or authority over the

operations of CoinDeal. Chandran exercised ultimate control and authority over


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CoinDeal, and investors relied on his purported managerial skills, along with the

efforts of Davidson, Glaspie, and Knott, to provide a return on their investment.

      124. The Defendants used interstate commerce when they offered and sold

CoinDeal investments in multiple states and countries by, among other things,

corresponding with potential investors via email and teleconferences and receiving

investor funds via interstate wire transfers.

       125. The CoinDeal investments offered and sold by the Defendants were

securities.

       126. No registration statement was ever filed with the SEC or has ever

been in effect with respect to any offers and sales of CoinDeal investments.

                                  COUNT I
               Violations of Section 17(a) of the Securities Act
                             [15 U.S.C. § 77q(a)]
    (Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo)

      127. Paragraphs 1 through 126 are realleged and incorporated by reference

as though fully set forth herein.

       128. By engaging in the conduct described above, Defendants Chandran,

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo, in the offer and sale of

securities, by the use of the means and instruments of transportation or

communication in interstate commerce or by use of the mails, directly or

indirectly, (i) employed devices, schemes and artifices to defraud; (ii) obtained

money and property by means of untrue statements of material facts and omissions
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to state material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; and (iii) engaged

in transactions, practices, and courses of business which operated or would operate

as a fraud or deceit upon the purchasers of such securities.

      129. Defendants Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and

BannersGo acted intentionally, knowingly, recklessly, or negligently, in engaging

in the conduct described above.

      130. By engaging in the conduct described above, Defendants Chandran,

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo violated Section 17(a) of

the Securities Act [15 U.S.C. § 77q(a)].

                                 COUNT II
              Violations of Section 10(b) of the Exchange Act
                       and Exchange Act Rule 10b-5
                [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
    (Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo)

      131. Paragraphs 1 through 126 are realleged and incorporated by reference.

      132. By engaging in the conduct described above, Defendants Chandran,

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo, in connection with the

purchase and sale of securities, by the use of the means and instrumentalities of

interstate commerce and by the use of the mails, directly and indirectly, (i)

employed devices, schemes and artifices to defraud; (ii) made untrue statements of

material fact and omitted to state material facts necessary in order to make the


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statements made, in the light of the circumstances under which they were made,

not misleading; and (iii) engaged in acts, practices and courses of business which

operated or would have operated as a fraud and deceit upon purchasers of

securities and upon other persons.

      133. Defendants Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and

BannersGo acted intentionally, knowingly, or recklessly, in engaging in the

fraudulent conduct described above.

      134. Through the foregoing, Defendants Chandran, Davidson, Glaspie,

Knott, Banner Co-Op, and BannersGo violated Section 10(b) of the Exchange Act

[15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. 240.10b-5].

                                COUNT III
           Violations of Section 5(a) and (c) of the Securities Act
                         [15 U.S.C. § 77e(a) and (c)]
    (Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo)

      135. Paragraphs 1 through 126 are realleged and incorporated by reference.

      136. From in or about 2019 through in or about 2022, Defendants

Chandran, Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo, directly or

indirectly, as to CoinDeal securities: (a) made use of the means or instruments of

transportation or communication in interstate commerce or of the mails to sell

securities through the use or medium of a prospectus or otherwise; or carried

securities or caused such securities to be carried through the mails or in interstate

commerce, by means or instruments of transportation, for the purpose of sale or
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delivery after sale; and (b) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell or to offer

to buy, through the use or medium of any prospectus or otherwise, securities

without a registration statement having been filed with the SEC or being in effect

as to such securities.

      137. No registration statements were filed with the SEC or were in effect in

connection with offers or sales of CoinDeal securities by Defendants Chandran,

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo, and no exemption from

the registration requirements applied to sales by Defendants Chandran, Davidson,

Glaspie, Knott, Banner Co-Op, and BannersGo.

      138. By engaging in the conduct described above, Defendants Chandran,

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo violated, and unless

restrained and enjoined are reasonably likely to continue to violate Sections 5(a)

and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].

                                  COUNT IV
                      Aiding and Abetting Violations of
                      Section 10(b) of the Exchange Act
                       and Exchange Act Rule 10b-5(b)
                 [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
          (Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo)

      139. Paragraphs 1 through 126 are realleged and incorporated by reference.

      140. As described above, Defendant Chandran, directly or indirectly, in

connection with the purchase and sale of CoinDeal securities, by the use of the
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means and instrumentalities of interstate commerce and by the use of the mails,

intentionally, knowingly, or recklessly made untrue statements of material fact and

omitted to state material facts necessary in order to make the statements made, in

the light of the circumstances under which they were made, not misleading.

      141. By engaging in the conduct described, Defendant Chandran violated

Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(b)

thereunder [17 C.F.R. 240.10b-5].

      142. Defendants Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo

intentionally, knowingly, or recklessly provided substantial assistance to

Defendant Chandran.

      143. By reason of the foregoing, Defendants Davidson, Glaspie, Knott,

Banner Co-Op, and BannersGo aided and abetted the violations of Section 10(b) of

the Exchange Act and Rule 10b-5(b) thereunder by Defendant Chandran and,

pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)], Defendants

Davidson, Glaspie, Knott, Banner Co-Op, and BannersGo are liable to the same

extent as Defendant Chandran for his violations of Sections 10(b) of the Exchange

Act and Rule 10b-5(b) thereunder.




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                                   COUNT V
                        Aiding and Abetting Violations of
                        Section 17(a) of the Securities Act
                               [15 U.S.C. § 77q(a)]
                          (Mossel and AEO Publishing)

      144. Paragraphs 1 through 126 are realleged and incorporated by reference.

      145. As described above, Defendant Glaspie, directly or indirectly, in the

offer and sale of CoinDeal securities by the use of the means and instruments of

transportation or communication in interstate commerce or by use of the mails,

intentionally, knowingly, recklessly, or negligently, (i) employed devices, schemes

and artifices to defraud; (ii) obtained money and property by means of untrue

statements of material facts and omissions to state material facts necessary in order

to make the statements made, in light of the circumstances under which they were

made, not misleading; and (iii) engaged in transactions, practices, and courses of

business which operated or would operate as a fraud or deceit upon the purchasers

of such securities.

      146. By engaging in the conduct described, Defendant Glaspie violated

Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

      147.    Defendants Mossel and AEO Publishing intentionally, knowingly, or

recklessly provided substantial assistance to Defendant Glaspie.

      148. By reason of the foregoing, Defendants Mossel and AEO Publishing

aided and abetted the violations of Section 17(a) of the Securities Act, by


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Defendant Glaspie and, pursuant to Section 15(b) of the Securities Act [15 U.S.C.

§ 77o(b)], Defendants Mossel and AEO Publishing are liable to the same extent as

Defendant Glaspie for his violations of Section 17(a) of the Securities Act.

                                   COUNT VI
                       Aiding and Abetting Violations of
                       Section 10(b) of the Exchange Act
                         and Exchange Act Rule 10b-5
                  [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                         (Mossel and AEO Publishing)

      149. Paragraphs 1 through 126 are realleged and incorporated by reference.

      150. As described above, Defendant Glaspie, directly or indirectly, in

connection with the purchase and sale of CoinDeal securities, by the use of the

means and instrumentalities of interstate commerce and by the use of the mails,

intentionally, knowingly, or recklessly, (i) employed devices, schemes and artifices

to defraud; (ii) made untrue statements of material fact and omitted to state

material facts necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and (iii) engaged in

acts, practices and courses of business which operated or would have operated as a

fraud and deceit upon purchasers of securities and upon other persons.

      151. By engaging in the conduct described, Defendant Glaspie violated

Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder

[17 C.F.R. 240.10b-5].



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      152. Defendants Mossel and AEO Publishing intentionally, knowingly, or

recklessly provided substantial assistance to Defendant Glaspie.

      153. By reason of the foregoing, Defendants Mossel and AEO Publishing

aided and abetted the violations of Section 10(b) of the Exchange Act and Rule

10b-5 thereunder by Defendant Glaspie and, pursuant to Section 20(e) of the

Exchange Act [15 U.S.C. § 78t(e)], Defendants Mossel and AEO Publishing are

liable to the same extent as Defendant Glaspie for his violations of Sections 10(b)

of the Exchange Act and Rule 10b-5 thereunder.

                                   COUNT VII
                       Aiding and Abetting Violations of
                    Sections 5(a) and (c) of the Securities Act
                           [15 U.S.C. §§ 77e(a) and (c)]
                          (Mossel and AEO Publishing)

      154. Paragraphs 1 through 126 are realleged and incorporated by reference.

      155. As described above, Defendant Glaspie offered and sold CoinDeal

securities when no registration statements were filed with the SEC or were in effect

in connection with offers or sales of such securities, and no exemption from the

registration requirements applied to Defendant Glaspie’s sales.

      156. By engaging in this conduct, Defendant Glaspie violated Sections 5(a)

and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].




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      157. Defendants Mossel and AEO Publishing intentionally, knowingly, or

recklessly provided substantial assistance to the unregistered offers and sales by

Defendant Glaspie.

      158. By reason of the foregoing, Defendants Mossel and AEO Publishing

aided and abetted the violations of Section 5(a) and 5(c) of the Securities Act, by

Defendant Glaspie and, pursuant to Section 15(b) of the Securities Act [15 U.S.C.

§ 77o(b)], Defendants Mossel and AEO Publishing are liable to the same extent as

Defendant Glaspie for his violations of Sections 5(a) and (c) of the Securities Act.

                              RELIEF REQUESTED

      THEREFORE, the SEC requests that this Court:

                                          I.

      Permanently enjoin Defendants, their officers, agents, servants, employees,

attorneys and those persons in active concert or participation with Defendants who

receive actual notice of the order of this Court, by personal service or otherwise,

and each of them from, directly or indirectly, engaging in the transactions, acts,

practices or courses of business described above, or in conduct of similar purport

and object, in violation of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder

[17 CFR § 240.10b-5]; and Section 5 of the Securities Act [15 U.S.C. § 77e];




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                                          II.

      Order Defendants to disgorge all ill-gotten gains and/or unjust enrichment

received directly or indirectly, with pre-judgment interest thereon, as a result of the

alleged violations, pursuant to Exchange Act Sections 21(d)(5) and 21(d)(7) [15

U.S.C. §§ 78u(d)(5) and 78u(d)(7)];

                                         III.

      Order Defendants to pay civil penalties pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)];

                                         IV.

      Enter an Order, pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C.

§ 78u(d)(2)] permanently prohibiting Defendants Chandran, Davidson, Glaspie,

Knott, and Mossel from serving as an officer or director of any issuer that has a

class of securities registered pursuant to Section 12 [15 U.S.C. § 78l] of the

Exchange Act or that is required to file reports pursuant to Section 15(d) of the

Exchange Act [15 U.S.C. § 78o(d)];

                                          V.

      Permanently enjoin Defendant Chandran from directly or indirectly,

including, but not limited to, through any entity owned or controlled by Chandran,

participating in the issuance, purchase, offer, or sale of any security; provided,


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however, that such injunction shall not prevent Chandran from purchasing or

selling securities for his own personal account; and

                                         VI.

      Grant any other relief this Court deems appropriate.

                                 JURY DEMAND

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands that this case be tried to a jury.

Dated: January 4, 2023           Respectfully Submitted,

                                 UNITED STATES SECURITIES
                                 AND EXCHANGE COMMISSION

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